                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 1 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: GDSAFS SmileySox Smiley Face Socks, Women Grils Funny Ankle Socks Novelty Sox, Embroidered Cotton Ankle Socks (styleA-10pcs) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/GDSAFS-SmileySox-Novelty-Embroidered-styleA-10pcs/dp/B0BQ2YK8HN/ref=sr_1_222

   Collection Date
   Fri, 21 Apr 2023 09:28:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   c9gm18x+Py2guhbhYpq1P1/YxwNyPlh6RruGcIZSgNYhYeT7qXQE93KDLXtRpw/3xYQA0o42z9FeM6WKM5iqN2cU9eJSl9khJH8Qpb7QL4RGcZ3STX8SfRwFjUpxn2fEFdslMg6dS8YJKlb+yRo/s1bGHZmyv/Kvw0NtEqoE7k4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]GDSAFS-SmileySox-Novelty-Embroidered-styleA-10pcs[fs]dp[fs]B0BQ2YK8HN[fs]ref=sr_1_222]]_Fri,-21-Apr-2023-09-28-35-GMT.pdf

   Hash (SHA256)
   57c3e11e413dc0618e67f715f73af8e2b770f64fd92a31306c12f4502a6300c5

   Signature (PKCS#1v1.5)
UBrBjZVmPnK8aYhQH/Spy6X49Ct4sA602G0aVSakwmQz0GnblPGXxjMnW7J9uJQfl3mYHv1xm4TbHnFrwn9BpJ+DDkM3XzMuDmW7ZkmpWYYAxMGE32E6DilBYjIvxNumZA5n1V9bgtOXhK9pKJMEtL9hbgGeY55bwOtJyiU4rWc=
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 15:51:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jmh4VkZs0r7Gio4giTv0SzLxO3yzZZjiwaGcwqTNlTDJKzJQcIyjOIFJCe5/Ypw06RJBPfWFlG2DB5Ydmfg2juyswtOFOTkaeG/4gZOFUuCFFqHT9q1Zf5jHKEuH9nlyRLQeqAh47fG5yXxw6RmJJ+7A/6pyzt/
   UCaob1BVF64NCDstgfQ1hUO8n4keAK8zUnq84Zd4sd87jJ7Q2oKbtPb87O4kRiTszdBqGDXKi8j6PhumnYKm6EbNEQHDLPD4+5EvHu/tgAtueg5HY7HV58RPgeDkneyAVLnOEiQRF2b2pGoAaBqKSQX2lKgmrz3njTisCQUSbr5RulPdw0iu2IA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-15-51-50-GMT.mhtml

   Hash (SHA256)
   21ec2f16ad38f9195456123fcc23e8454748fe2f273fddb80a5d091a73619e21

   Signature (PKCS#1v1.5)
Wmb3WK/GoBgJrXOb4JV8c7bIVVvWseYw8ZlaPnM9ldJaGXZk/HZUeqKHhQqNPmvClpHpZZubhNO6TGYOHPfm+vD9xXc41cDw0q9hzEkOySpmHSSoH3kDxNHp8C6cY2AXh4Lm3uVlj9aZeE5dfazK05cgCFGgvOJ42whR98mM
+dChxX4U3VwmBz3RJKyy6aoGLlNtSoFJ3I0P9OjUnyYNhuPIyXVEGkeQKSrbA5X/La/A5Ev8k8KcpgqtQ2w8/CYvxtiIWZ2j8zFIyvhAYE+JUSJLwtW4dcWhO9ZrkJBYqOdZRCBQ69HqkLicrWfqMT1p6hQpJOYQgvzMDxuIbg14zg==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   CENSTECH 10 Pairs Cute Smiley Socks Funny Ankle Socks Novelty Sox Breathable cotton socks Gift for Women and Grils at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/CENSTECH-Smiley-Novelty-Breathable-cotton/dp/B0BTSC3D5Y/ref=sr_1_97

   Collection Date
   Fri, 21 Apr 2023 10:15:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HJ08q2aMW8tvQ3HCzSiq5d5X0xQC/lXlgm9nvAr197bX9wLKG+1/Qef3oUDCCk9Heds+Ko8T+Qr8qivybSAAa4nyOlo61l7oLmX6348UgslA39ODPzJ4AELm7vfsRGTyDfaaOHjxzjm0UVoS7q18i44h+Omn+kGEA7a5OWIQ1uc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]CENSTECH-Smiley-Novelty-Breathable-cotton[fs]dp[fs]B0BTSC3D5Y[fs]ref=sr_1_97]]_Fri,-21-Apr-2023-10-15-40-GMT.pdf

   Hash (SHA256)
   d50d64c8287923ef7b39477f1ee8ef68cafd31e99af94a7e6698296e37433f7d

   Signature (PKCS#1v1.5)
Zuk2SZquhOVmfKM8mO5dXyl627LXm/N8ZuAX82qb2x6CXQutkp6ppLd9QbqAxLiRdgRt/tbyBeXylsxgG01hct3QQeCzoN4JIMOn8bk/57wRrygZl+I+y8mxwZaGArZkklkBrOSJqaA0FFmYu22u44lBijY63cKAwmIURpOnZe4=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 07:12:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X6xYdyeAMOmbUOe6MuykgbB6rxAy0uXpmJxymL/fCBXkQeiCNuTMEUceRAh0MzUsjLKYh2+INJJZeIL4Zi0l1xMXFPsGkfe4QlLTRwc5mpAvA0rtX1e+JcK6i3g4jvZ13qE9M76vPIYA2CF9Pp5gTLZGMhCQPsVGtDL+R8zaAQfY4YOJFMWdSTe/
   cGpyVM5NnXWU8wfjKAD6CWlMTGZwhXLSNcNDGoPc8DS0m1D4F0BerawmbJrMrqD/CuHzAvDeTFhs5l9tPoeQxF4qEAgMoN2gcldWQVBmaUCqQKgXKbg1J+EXOaF/3EZ/UNZ2GxJDMXTivN+SN29YTzVOaQnDAQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-07-12-50-GMT.mhtml

   Hash (SHA256)
   b6dc4ea5e04f0b30946d296962a25839b234a0e082aa8e054a5a208d8e2d9d8d

   Signature (PKCS#1v1.5)
UtIopcrizVYLm0+SmQR7TY8MD/uTmUaEzDlyC2ILJ83YXKJvRzgQ3qphqhc9EwqxYUC4wHukWeggQmnwrcpaHXcwHCJGKHfNbo70nas/MDrpAc+P1S42CHwvd5HOyJVKg59nOa6lxL/86BaSgX4v3CfTP6EyMZyzaUt7dMkGq882JnLhbnbFZW55iBoF7hY244eb/
ipTVfqw1c7fctbXrAWE5xVaq6GVAo63tNHwOa4c5yXrW5V/LrH0sTGLRmMHKDuOdiiS5E0lNQCv+o0ej7mPbdLOH6GKK9c0k/phybVN0Yd7zF8nyql8EtcCp5ZCOfgdU2zopfV8+G45X5o7ow==
                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: LMMDDP Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/LMMDDP-Breathable-Combed-Cotton-Striped/dp/B0BXX3PJKT/ref=sr_1_4

   Collection Date
   Fri, 21 Apr 2023 09:51:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   krkNGPKrf9E1aMdUNXYgSM32DxT8tFME2C605TBFX4i8XIEpIHWlU17fOUDuzD5E1mJirJum/6krkRG9XUWm8Xo92xz6AABIMmU0s7mqehP0liKpe48az4IJ/AifqYB9h/6X5SkP2yfp+KTfqMoBsXF3GJDcEP5fRX1PNrRufq8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LMMDDP-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BXX3PJKT[fs]ref=sr_1_4]]_Fri,-21-Apr-2023-09-51-31-GMT.pdf

   Hash (SHA256)
   4f5aae215fc6a32a65ee9a75f088f2c39f81a35b38e591ddab766ffbe3797b8b

   Signature (PKCS#1v1.5)
KmWL+3R54BVeLcruvY5JWlmlTYb01uxkDLQrMrlmnLpbzQ99JVkam4t0Nyj2ZU3SQJHp6QIPPB0fZfoi1YohG2I2Vgb5ujIQc60ol2a7iwgwfd+Hjy0iMyDErI+5DGhWaYW0kWwSpEelZk6NJsIaFdpy1JWiq01bBSIXGo8w/hk=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 01:57:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LBKyUKZf/awltF9zOipMjAB8og4BLp8gtstMwhu0pPJCKWnHAQCHYEokmtA0Q/TwGPFp5uVxi64ThwCMtTN+NimeSRkh6ALjLzBrgbxMzGk0FxaVlguKwpvgsY2+/38v+avE/zvwts5b294zK6X3cs3e5b7Fi1J32nGVPkEwvBQQc5zjzmMzD8shtnIi+v/sH1Q4J
   +iZ76SPCmCnSy5qPILq4vreWywQHzQLfBi0gq4t5WChALoyVUKzcKmMWPd9Hjeag/0QKLbdtKl2al0FcdEjaV4VoEDJ46h9lEMEdaWMXFDygZUwkNqzo97MUS7Aby9N5ftbUNcwfwvdZuqIHg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-01-57-51-GMT.mhtml

   Hash (SHA256)
   01663db0609ff943afd7467ec9642c08d39308968e8ef0307c096017cbe4d0b4

   Signature (PKCS#1v1.5)
O+zHoGA34hHvktbltREUoC/JKBiJRCr3jL6StKuVRAu8pysLQ+mTh7qLpVpZhPq61N2x+ulK2n3YYD+XYwIG3vlwPZcd6eGOWcCr5SDwv/hZFgcI9o8zbnpVKkgaa/
MnPzVrVe0bpT12sZosyH8apK9HLlusFltNZalER4WiCqJ1afC6mlKx9BUlhmwltIy1cnrv4HowI6UVfTLs292Z21YdrEXrQ7Z7SPnWngONctd8tPk6VbhGCu8O83LzM+yoistwgoOUqJDU9mKtTpOH7apiprGBaEc9q5gofMoKfPytSspNt28jFv+AYsIoegQmNtoIp8X6HTT4RKv7meUZTA==
                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                                             Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MILACOLATO G23 Titanium 16G Septum Rings Internally Threaded Nose Rings Hoop 8mm Septum Daith Smiley Body Piercing Jewelry Rings for Women Men 2pcs Steel Color : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/MILACOLATO-Titanium-Internally-Threaded-8mm/dp/B0B3977HL2/ref=sr_1_240

   Collection Date
   Tue, 09 May 2023 06:11:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RhGR/M8Z/g9qpNS85ddg5oTuFvn7Rkf1aP/tACN7YlNs8pVJXvVGwda/CH+B+igqi6ccVbXhOyxIr6Qpt0Me0qz6LpOzWpIOa30eZpajNMGjG59Ps2VTU6/mzkf/5XLFUkxyUq2U7hLm2/wV4FhbnCMdDGkVbjh1yL954AhjLNo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MILACOLATO-Titanium-Internally-Threaded-8mm[fs]dp[fs]B0B3977HL2[fs]ref=sr_1_240]]_Tue,-09-May-2023-06-11-19-GMT.pdf

   Hash (SHA256)
   e184f622e4c9ff015a8fd0bec4400e7767906f0d4b480c031ed26889bb702eba

   Signature (PKCS#1v1.5)
sRYOfUgUzmdqcF1vKzN90u+1jdCRnI+d6WGChz2jz2RgyFHyMLiGXKZNhA6dlJIRchyE+hmsuUOYwKvLEBaets/9i4uycdheey8/vUts79QWWN7itsB+CZnKItlR6yKCAmzafswPikEcHZnQxzuZLaHPDlxb/7cx06gTq7yZdSA=
                                                                                  Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 15:32:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QVNMy9dBwlm2uEAoWHBl+D7YHUHu2yC79ZDihTai90bfdsmeGbgt1OM3t5wYmnVrd/gWMIlwFS/K3icldaSa3S8aJ7svne6Fla2Hp0EDdJGkfGSkbdgZNZSqXSaNXGAkCfSMxrCJ35UiFVbzsGUJWyFf8NXVQw9KMkY9ZSjisR
   +CdPAldKi6mY0mhaEvqvKZ9aw/4TNDk0YD8ncz/1PWAVu0bS6DnXXsUU2iGRub1pDJR93BRR731t0H5DCgS9TVdS3Pr3OuJ6Ar2y6DiCR2wGIhXFFpbrKrkp/qvtRndWkjtglQ3nxhQQfdE+mAz9NfBLroOBol1bBN95GWa2XoGQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-15-32-09-GMT.mhtml

   Hash (SHA256)
   142123adfb9eefd6ad76c16dc1d4f1cd328145e58afd76f66bc3f07b6ae4d3b4

   Signature (PKCS#1v1.5)
nGwZOw5X9WyXIn3rZUt3+bdBaOFXQ7qh7HCUOrr+K73LHNTVDcX/X9IHand+HGOvWF6EZRgBPFt0jhcr/k0kL3LjdJtn+Ipy9ybtgUa2l4Kc
+76IOQM83jCdjQ30VDJHivBStYHLncUmitn00dSKf2D36WhKO4rp1an59Y9IKhQf76iVENpDEMNiNYWBbkroms85N8Tbp0aK8hwlhrML2EIk0zWh0lXO4kgul3ut0KUMv4up755CPPlsZ57aKudW9sN2QyUk4AGOvcUtmbxL7EERVTPwwJmnM4ysrMQT5BSmlYIHfLGKfMWrW31UmQ5L73ObWNrz
pisRVPk1ixoGRg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: MIN HI Fashion Colorful Acrylic Smiley Pearl Necklace Sweet Lovely Boho Beaded Chain Necklaces For Women Girls Aesthetic Jewelry Gift 5 : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Fashion-Colorful-Necklace-Necklaces-Aesthetic/dp/B0BHV8SK8M/ref=sr_1_520

   Collection Date
   Mon, 24 Apr 2023 07:28:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YUBh0cMoO/1Xjtu55qe5z5/0wqSoavAdRg6q0O3vb8YrJTxXp9tl1E7bPqhBv3+gSoqOEKkjMWnl0mzWeo9awr1WdNY5bkFvo6MWJTBkOJNqEDygCLXvs+2d/SSqlbPAPW+zOxtngLxjWoCLND4V1T6rj26tWkh1P8+9aIPeE8Q=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Fashion-Colorful-Necklace-Necklaces-Aesthetic[fs]dp[fs]B0BHV8SK8M[fs]ref=sr_1_520]]_Mon,-24-Apr-2023-07-28-30-GMT.pdf

   Hash (SHA256)
   dd4e95384d276b8bea649f1757d2758ca4baf1a1372190b650ac477c25f4bbb2

   Signature (PKCS#1v1.5)
HX8w61Q6fwdCIdVNtbhP/ramPcwHSWwJxpM2CGL6wOWfYKkZLqGVqSisEvl9IbFIQyG8g2w9XknNCm2FqWZcijD/0J2zH1N6w5uRhKYzxnE9aGRPUfcZ/CKAIfhaAQN6+tyXFRKQ9xHyUtnK20F3tlK0TVYGf0gDeFlgdYSljfY=
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 12:30:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ISdr7owC2dtitPk3RxEmRA9bSWrGyZJjxCnNyshHlkdPnCfAtEgVo0/o4m8nxEywgv7g/
   XifD7QaEoCFQCdUHdPKGfnNBt33y4HzamyDmbQfXB9L6YOwntkcq1HAjhIMLqEYOCJ2oxyO35pQTdlJvzTJghvu19aopTwux7RdzoKQtCaf9XmHtkwPExPwDsclETxnyU7N4JkkHDXvSCh1AwVt6J3emYhPgqPpr1oBUMS11/
   POz1IJ5q7QuIQrv1EIQmO11uAWGcIKVk6NDzZOnqHwhCsXLE4EZ3aXUbTq7SWRW4gxCz1knJgMb9iZ06mHXVAxATw/QtIc1h86qbuJoQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-12-30-22-GMT.mhtml

   Hash (SHA256)
   a693e690db8b59aed8fb336dd35186c4dc355481d77209dd4eed8770711fc1d7

   Signature (PKCS#1v1.5)
lKTlgmmcyKcDDiwp0n377XosK1v0P3AVdlHAP/B8Trf+Im5wClDAywWGhZIa6zZKA4rqTTXnCUpO09NNXrbkCt3EcFV8D43XlNm48ClZsVnT+rSMuzBjzFU0OGp3f3yiIyAyO3ZRebG1/YqBtQDUXkeOdfXOaFMW6OPa5nsvRO+ZuXjJtGAT2EM9uTjL8NKaxggVjWvrB+Nm0HBrNdxLIC+jjNm/
esOao/E24Oib5jaa8XVmIfP639X7TKL3Qdq4CEnUYnm0iEi2e3UwOpdvB+kFjY0DFDEpWiHaUJ5TGEXatUduumrMywt1+q3hIJygbS4rIcSFHCj+1AC/GJ5Nig==
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 9 Pcs Smiley Face Patch - Smiley Face Iron On Patch with Heart Eyes, Happy Face Chenille Embroidery Patches for Clothing Bags Jackets Jeans Shoes DIY Craft,3 Colors : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Pcs-Smiley-Face-Patch-Embroidery/dp/B09WYFY1NW/ref=sr_1_48

   Collection Date
   Wed, 26 Apr 2023 07:26:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E2a+5hk8lj1jXwgZwpkhnORlKuoqh3oxUu8iAKye0S39UFuPKA6xOV4tVRxA5xgoH88OTuSi+it/kAzsjg4NHmJCl81RgZJ7nRJeSDQsoDalZSr5K6i2H44bl+PuPH18i7FL+YOP+efnU4lEkWgmM+7Ua0lqWNJtHfXx6C1EXJY=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pcs-Smiley-Face-Patch-Embroidery[fs]dp[fs]B09WYFY1NW[fs]ref=sr_1_48]]_Wed,-26-Apr-2023-07-26-16-GMT.pdf

   Hash (SHA256)
   f559316a8678bed26093bc6486f2a567c86ad226947b88d9050b5bcf9fe071da

   Signature (PKCS#1v1.5)
RG7lPiXfwbKpjsC6NaJOsPK1pjviC41N2enHS+m+GlEzBAYirxBzRkhZUHMe6yniOsJEF8gUjHv+PH2SZdCifofyNz5rE/wpiX/S47yI6OFl2b5eFkMRGU6Q9JTkzZFVU12XFFErRX3u56+jVZFBqKzofbH9/f+eYzpaDyJZnn8=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 05:41:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A7e/bsyfOjgRSq2TBvULr18T3RAJ42Pd6lxQPLa7jl0mpC8M47ttiPVbdZPY3VeihNHJRCpNzgXLkuK2gXcHtj3Pm8p98vPVsmaxFwds6ycOyfKVOibI0oliEL8OFgeo/ZWfF0wHxSLL5nzE/V1C6FyYuEAWK86JwBaEpswxL8T6USDWU966dQDqfoU6rs1ilRVeAMrnxF++l5LI1J5oYURIh
   +k2eWbqEgsZL/tZ9rzFGbzJVmWKb/13UqFFTE5YthOY2diq7WTU26p+bjSuU4MubkFwJg8n6VgUvAjrrhYF8rdv+Dy9vq8z3EeQkcmL9FO5zbUHjm9YnshXSc6OsA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-05-41-18-GMT.mhtml

   Hash (SHA256)
   7a24f0f7dec3d2f585097cb8ef7d796c2dda78c31df577c6750f074425aeb470

   Signature (PKCS#1v1.5)
Bsip4SwtTRwb7To54trae3ci8uGdWWsN7o0AGELe1iiNgMxIEH135uMku1Q52gKQHIXOgdJ6OW0or82K9JBQkMxGEEJxda0cVUVYQq37CrCGMHpuRxsFLe+D9rmnOCoraxKt8o1p24Vj3mAQrOp1GeZkDgM1rf6broNWfjmN3VI8k77BkFV4tXlgO7mAu0TdJ4KpC/mR3Kgr2A5fo
+oH4s1AqD6JCjP3JjUEuhGFC+lQMXN4edTvgSbSrI0UU2OFfC7z1uQ2gvuRQEGUaIawXSHUL2c4uCEAuzIjouinPZOfahGLNO5Il4H7Q/D3k5eoxSyk3MQuaAyV9U7UIY3fkw==
                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MISS RIGHT Y2K Jewelry Smiley Face Evil Eye Pearl Beaded Necklace Aesthetic for Women Teen Girls, Fun Cute Sunflower Fruit Heart Dice Yin Yang Mushroom Candy Bead Choker Necklace: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Jewelry-Necklace-Aesthetic-Sunflower-Mushroom/dp/B09JW1PBNB/ref=sr_1_64

   Collection Date
   Mon, 24 Apr 2023 05:10:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SH8CYdW+pKsjKDKDZBU2RCKqYL1+nnjHW44hK6SG8MgtgHFRPtgEsfZDtRyDSHFUT34epGdl0j1hOtG2uiR3/wwpPX0zZsWlgVNPD12uPesu8tX5u4m3JpoapECTUHthARIc9mOKrtgkXjMYYF1X+d0VvtQQ7NUCGQ94G+2dpaI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Jewelry-Necklace-Aesthetic-Sunflower-Mushroom[fs]dp[fs]B09JW1PBNB[fs]ref=sr_1_64]]_Mon,-24-Apr-2023-05-10-53-GMT.pdf

   Hash (SHA256)
   91be324d4dfac3efc177be8b0cbf23bd026c06cb9932254bb6f4507f793fc580

   Signature (PKCS#1v1.5)
hSpzTLz6T0iVdyaicfoFQh6T/HGtDjyhvTP8CmKfD+3qDDdnEp1NQ6N3cGvsLNX5QaqlF4tp22+T71MAtZtO5mPIg0+K/bJUCeAOIwe5V0WPTW7pCA0mbOPhjsxfxQUbzNySWuxn1UBqzz7ioe8/GO0+5xroZpU7HsoznkN6dLA=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 13:13:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TL6la276Iz2PsY/hLQryT97YETKHukjp9LN/HgyoHpw5SrXlAELHUyPWXS6edLylUQk4ZYrWXaIs+9uWpsGRhTnhgTyvSQLljjx1xzmoYS6atP0fppxgWoRi5J8KwHktUE6b2awiecJDYT7jbiWkSxhCeNYFBGFQjKDPLMEXmWrqWF00erTm4TOCqMcfEu+LA26xM8GDQhDdwjg4y+f
   +sjuIlHy7uAwbXk9Y1FVt9hiu58zd8eM/F6EyQ1Nq01WbTWvp91V6pA+jBcoS0hsXFXa2i2rT4uY9o9MVlDEg6ylAkuPh4rxw7GYdvkooFtznowTqs5Kh8rsWPFG5IHTzNQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-13-13-46-GMT.mhtml

   Hash (SHA256)
   0d948d203258bde64345ba25e6fc091f6468e2e71b0d36767d814a7e0869ffa5

   Signature (PKCS#1v1.5)
Cx8/5pWGVNhiRqMIGIbIha5uoWacSFFoL8fVw3xxX/Fx5NS3Re49zagcwewjG+7D9TTgaAaFMSe015e29U694BBN6vBMwOGDfrJGaXecqZPpsNyVHzvxRCJA4hL1ql1R3Vn1Ae8E1JZ2uUketwkqqWwQFsVYy4voP6bjynM31712HdQEtY23A2hcQ9QogJv5GXQ/sHSMSIxs0JV+sWIw0GaFVW/
EjwlpBPnOgJbYCMmI48tawQhPPekqnyOMBgNOUiGB6GvPaffvqI8i1RmAv1yxr+1wwFjkfIBnf7EkS+bq5Yeyf7YxDmW5K3t6krX18NEdShT1TQFWWrwakOwisw==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Womens Sheer Socks, Summer Cute Smiley Transparent Thin Mesh Elastic Socks Crystal Glass Silk Sheer Short Stockings Socks (10 Pairs) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Womens-Transparent-Elastic-Crystal-Stockings/dp/B0B3DCV5YD/ref=sr_1_106

   Collection Date
   Fri, 21 Apr 2023 10:16:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZFyUp2tk0RDNqMxC+/vPZsm1B+UOpWIdDEfAlOnMpfPA5kZHps9dxM+R3BIMRuGYEesyiNxW21Yow32zTgTnmRZP+QnAoLztFfSWVilE9TlBSYubbggIgsaGP4Di1CJIgsuHIvrxHPnd2pJBh6AiJLqAMcPkopNqsVpfQUoyjZw=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Womens-Transparent-Elastic-Crystal-Stockings[fs]dp[fs]B0B3DCV5YD[fs]ref=sr_1_106]]_Fri,-21-Apr-2023-10-16-22-GMT.pdf

   Hash (SHA256)
   d10de5787eea477d821f078d3e9d208747940d83817537b2167e5d2efd4909cc

   Signature (PKCS#1v1.5)
TJlsJxNvDoPUQibSm775tFtafbtyAlo+7p9DQIRMfKG275PAzQTEAFwiJLYaAW03SFDZiXaUARTG8sbj075DE7bRR4Mr4FZkw4252FJv8B7HNDpTrMXe7ewylkYsb+z4K0uBA7RPU2VAvq8NkkmR5Hu3Ubws9z+34qadCnrvqaM=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 07:35:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nUvddAwDE08X1UkFZTjtFVkhWBNUnG779Z+HOX9espeYwoodZh9cMPv0kAZ/Dazwo6X3KuSAjulc1CffbuRYz2+YgZDEIBg1FRnq9yHyqffd5f0k2AJ2+Ks8/CIX11alePJJk0eQvQS/pE8f/tAC1jMBZeb+0zkBIZG0q1ijOQulstszJxmMqVzzd5CVWs5VQFE4nTzZ2ApabN9bKBo13VcSGE/
   qUIi6eyuU5HH8vT825V7HxM4H8iEvqXOjUEZ1MS/FixzZ6V2ATWatKX4dUWGhHL/TiMpWKVCa23O6OMW5mC16uPWJ9wgRkxL05/YDVvTr54Ts/LBxSgNnkGPUgw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-07-35-15-GMT.mhtml

   Hash (SHA256)
   36c7fad2a6913a27aa00664cfc28725a770ec091daf0f0adaa2248200d17ec6a

   Signature (PKCS#1v1.5)
LdUt4wWck2Gihubqrsr8XcFb9qSHo1NG3oHQHT+azzbIyynKDtmDAG+p8N5y3G2e7rr5PC2k5zTDujRpLnvtr4tnHySEOeFMfeGccDh8pKS0+qcNvYtz22KuLSJoNVVo1XPWJ+TnIpYVaHkIfx/lh6p96WXvXTpANJRr6YVCzsxW3FFiw0RxrsGgWzkAz6nNDQHgyd/1uPV
+5DOEjLwOB72PRoBPLfndnM7wosc/qOR+gSXpFOC5WNtjcS6u0Vr7W3ODloopqBefCkh8T4pHKifqfr1LZI6HlYebOwRjOFzvkjJxh2HAADlUpePaxG3wgw+wHx3YpPzcQBn57IeDnQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pearl Choker Necklace for Women Gold Beads Choker Necklace Y2k Handmade Smiley Face Pearl Necklace for Women Teen Girls Gifts (Gold2): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Pearl-Choker-Necklace-Handmade/dp/B0B7HJK858/ref=sr_1_578

   Collection Date
   Mon, 24 Apr 2023 07:48:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jA8FYzfgooApU0CM2rtnaGb134sV1djQ1z3ISM/vwOWmQTRgJ2ldIzqag8CZa42xxe8bTNE1j+A8iILZn31ES7gmiH8sX+jp3ymkV1z4Zlt2baBX2obwX+3i2yEsTQBAUTDxoK3+QMZ0s270PV75ujjXMMRmflMYcFjrxlfcQNc=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Pearl-Choker-Necklace-Handmade[fs]dp[fs]B0B7HJK858[fs]ref=sr_1_578]]_Mon,-24-Apr-2023-07-48-02-GMT.pdf

   Hash (SHA256)
   31e54b57b905109fa25d7ced1be238857e73a2ca444b8a34b17b80c0306eb494

   Signature (PKCS#1v1.5)
g2jBpq9TMScHuuLyb/QexaJcCeTf4S8F6xpi+Xj2g8s9lR8dbAoSMSUhbxqSZi+fwz9AdAfNhOqjkg7/TAk18ActctqhbRovOPB/2KHJvMkeSSywQgqI/xBqmohHC4VnwzZSl28c8Tenkvt4QAXtGEf9iEU5TuKVvIHNFR7936Y=
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 14:19:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NiEfANIRt3BORexpfc55mI283b73L6Ek8wPi6s2FS6m3nLHDdNbO4Wct1H6Cgg2F4EnklFW3Nh1m3OUwOFOBkUHI9ADCj+5GN2E3oQWsge7lFbWkti8CcXNuAuw+8NmxTjeaWPEbYh2xgxoosjirLiLLyCHsns3St3vA21p+JbJb7sLBTpXPOEiAK3H+1wX9+aKSIQeKFIgaPDxRAP3zun6ityRg/
   U5zDOSyz1GDNlZhA1hCICrRoLbibbBtJkPpWnFoXcEEH7GH+fAU/nBFkXKQ0sVAJHz0N/1l9jqSNCHMkcSptx0F4INLJef6+G6AImWQrG2RT6No5t2C+K78/w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-14-19-45-GMT.mhtml

   Hash (SHA256)
   087c28c3f113436e10d080613cd19d448a3fa8e97c2e9f80551b7588111652c8

   Signature (PKCS#1v1.5)
Hygg8IVwlkouQigpuXy5ZVl0ovsngkXJdoRNttpQ+SZ4KP317euqIloMGvGbGk/bd2RmZHlJ6g4cHO67i5HyqX8ITXOAbB2ze8xx8jrhPegvew7H4UUN/UiTjinTgYMHtVb4ieyE/1YTIYU+UJ5iCL9/
ggwYV1tkvm8G5cc6GhXqQcwsUqG1nRU4AwvLEIRUU9wZ1eT5ndmmob5wAfK7j6Bdxf8cqT9gfuCEWhEGPheDVHie+VD45gW6cARZ47pvye9sLHrJ6cK2av02yh4HtZybuGz4TE0MWVoB6XWRBM/b96pWNJ/B+YMwtb4HEMhTDbp0iwbpultVA/j3mY/24w==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: COLORFUL BLING Cute Rings for Women Teen Girls White Gold Chunky Rings Y2K Jewelry Trendy Smiley Face Flower Heart Butterfly Rings Aesthetic Statement Stackable Rings Set -Style 1: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/COLORFUL-BLING-Butterfly-Aesthetic-Statement/dp/B09QWL76Q3/ref=sr_1_108

   Collection Date
   Wed, 19 Apr 2023 11:58:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oqjNNX2m0FZi0FNe+CYKYFJNlpE74icu29zCB+NryImA3Iy8i87eHWDiAncOApUV8x+IGhfhhXskU29juB1hFsv/nibXg3tZPBD+2u8KxpWSIk6aS5oNv/JqXJZJVAukYVGmZBhLLScHzLO8XXEeLVvGx1T68Hlkbc+ObcMmRqE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]COLORFUL-BLING-Butterfly-Aesthetic-Statement[fs]dp[fs]B09QWL76Q3[fs]ref=sr_1_108]]_Wed,-19-Apr-2023-11-58-27-GMT.pdf

   Hash (SHA256)
   55b84a5ccab2ea497b85ce2beaf4b92fa1c1140c5a4dfdee05d25d26e690793e

   Signature (PKCS#1v1.5)
BRBktJYjVQdEjaRYRTMjdArVf/OqpRuUrxwBQlWTDCNjz3iOzsQ1E0Qizg/JKTRcagaiL2ttDo5+i+OIKK4lKQeUZLtvW/uI8nf2IOxP+caTooYx71VEAlOi+x9t7I6QsbuKh114QOnBrSP1hTW/f0+3EftY/5y7z6Qf+D+MJQ8=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 20 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 09:51:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YcwNs+hWHK+Hna3TkhoM3hNCWu5l3eU1vbuGkskTRYfJA7kh4Wynh1zLjJ5TrqW7+57k1OkkVUUC3lkZLsNH0QbScvN4mN5BzzmUP1nhUD5PiNAJ/U8gDLwyFP82Xeszxv/yb
   +mB2u6KMASdGHU38ufu3Hh2DP16LIHkMHi3g6uWm/9+Y8cmnSOEEthfnYmogiSzav4yN2LQAIBYROfVrlKyh18Yaq0KoNJa3XbT4hGWxZMwZ+kDL3pTi4HTfe20hgxkv70aYGLyrg0K2rFjf0op2nhOzTWbulWCx7pBMBdIchKc/2S25sgHFdAQxQpz4BS/fQIaCZr/FR20/rdUiw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-09-51-10-GMT.mhtml

   Hash (SHA256)
   c66bac97abc9d074c0341708d6d5b8dbaf4fbbef9ae17f79e9131023302d7b65

   Signature (PKCS#1v1.5)
mj8LRiPI2fVeDRUL4IGWEBZTd76O9i45wpanvwIpOWp14GZ/XAtXj5qCYaI+pcbcy58xApxeyIg3j9+qmEjzvzIangF9gzu8Wzp5UsFiASB/A5Xuy0lNOQa8JWeAwtlzwEPpfhRyb7mCryETaCsqvtuXJpOKhECQydLw2HNg/qnoNc9Dp84MaqtTqzwtnIR7LLdWshRCT9R2BXTLmRi5RCCb/
KPiqESzZlbZ06R55dHUvyrpf1qyQOThi8ZgSdspL4rhxagIMbFxDM+i55+zsAsnv+qXvm37r0DXwHaODKwIsPptgCAkAhK+DYRwA2cM261tEAgdtdg/Ic5tO+9vnw==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 11:26:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   prBys3mPMf2bCuLsuplMCz+VS9Rdj9CSbr3yZScdsSJ/F2roiX06CeI3tvsoXsBe6YaMtRxBWi7fEjuAnd0YFZTHxtfLaXEW0cp0RTYY6iGAjv3/LqgZNAfxHGzANfngA0mYcHGMMWIl691fVW1ZKMxGgEcz98gUug01Vc/gtoD1ZPMscd59zzbsPOoN/7r6FzkwzBtzjeHhyjdGJI6nTdbPY
   +Rt8RdOMsjLYfEtcsl8muoPDpGjKSLUom4M1TEmDJ7qtEBvT5IYpJiA/JhYZSaE7ch24S62JMx3rPFXBaomSs4BwZujk6SZM07TnJ9Td2gFXApPuKUuaTgGZBIXaQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-26-20-GMT.mhtml

   Hash (SHA256)
   f7b559477e656815116087ed114df8479eefe7f3e4c23e12b22e83e0bdb4d56b

   Signature (PKCS#1v1.5)
Cpd1GzUaM4d5a3RPF+rOQbn3qL12vtuMee4T/InQl/2nQScwv4lNDzhN8b5mR4LUFIbvtfo4R5ILMcWTcBduGT+TDe7c0g3g7UzT4w4Dc4aSdQzUdwH1qON/tQZx9bhON6UVuzTXy/vwdbv62Oi1MGmikqwjDdIgqq/
BHUMRCb6ysW1bGqa1xQb6HMkIvdX2bwbG97UM076mG3IIXGqwsrN6xnxNxSkZfSNuOuTd1zxwSi867UJyLaL65/jWBXQDBdsoU1Ti2S6se4IrP62x/QN1GrnR2T4frWc2w6wdl91oeHPI179xc+G9VsCvupWEnMk7aaZqleM0HSjCfsm8+w==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                                    Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 666PCS Flower Smiley Polymer Clay Beads Charms 24 Styles Cool Fun Cute Preppy Beads for Jewelry Making Girls Indie Aesthetic Beads DIY Bracelet Accessories Kit 5m Crystal Elastic String for Kids

   URL
   https://www.amazon.com/dp/B09V26RXNX

   Collection Date
   Thu, 15 Jun 2023 11:39:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FWV8Rd2CVPd+oIgljf2CxqFbmgMFBf4+m85Oy4nzEaYTboHESmdbZfxplLzLmV+NaQCVPdbJdgn6BdBgKsKcSRa6IbYBnGwJWvlbzGZ+f8ndXvZKcmuFA4E7Kr6BTe9M4VazD1Fd1qPngB9KruJxgOzRONf2XhxtqcVDSjRCt6+bVCaAB9llnzd/0qnixezGDpTo2wO1TIAuQ7TgT1hr0nyHL
   +0Gpl3wv/+bVbYhT9BSLFPzMdcNizEfHFN2+ayDxORNHPY5W+CRhqybncmUU4LRr88KDhi13YsGBgFYULDH80kZjlgv/A1gQ5JUOEauIfXBGtjx/bZxeAOAdhlWWg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09V26RXNX]]_Thu,-15-Jun-2023-11-39-04-GMT.mhtml

   Hash (SHA256)
   0d8396ffccb780180c23604014810a2324aafe5f7ab0b8527be1d14825af515f

   Signature (PKCS#1v1.5)
DQ14myCE9uWf9MbQ8y/Q6f9jFSFT574N7im3UVcnUbdPL7Jp/vNCDSXQJYP/8HfD7xOk58SixvYlpFKWbYE6fKlvU6Hv61tiSESGV8imFywnhqTCzRygcYE5szv6dtwFO3dW1IcPrYWKpV3eyGQe8a0O6bZrRJ+fHY+9On16l5f1RvkUeZTaVW9W9bqyTsFSH1LjbBXSqMjRbFcjigX45P
+mOBhECmBmLF+YPoPNdkG72XkXWD6rwO/fqQh8okfWI379PFRWRsZJFb56SpAP5qB/rfYq/AIa/T+VlgLUbFc2jGeIsFfyD/kMGUvAaB8LdvjpiXdXhbhIIuSCsdEoDg==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                              Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | Vidayie Smiley Face Slippers for Women, Retro Soft Plush Warm Slip-on Slippers, Cozy Indoor Outdoor Slippers with Memory Foam for Men Women, Happy face slippers | Slippers

   URL
   https://www.amazon.com/Vidayie-Smiley-Slippers-Outdoor-slippers/dp/B0BZRCRMQQ/ref=sr_1_11_sspa

   Collection Date
   Wed, 14 Jun 2023 09:53:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oC2ppQrldhy1zv3f6Xnnvob5EKvsoCLDAXqQuej5QLuB/OzF7HTrNYR/AHTEVeVCa69KAIzNAjM/EuOWvqVnkNy5MJ9Fai90mE8fcIUao3iTVKm0Wm0SPTphGxqDCr1RD3Yz8zcDlYcFUvxZYGAYaZ5WMTc5TtrCfpFjuGo6t/8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Vidayie-Smiley-Slippers-Outdoor-slippers[fs]dp[fs]B0BZRCRMQQ[fs]ref=sr_1_11_sspa]]_Wed,-14-Jun-2023-09-53-37-GMT.pdf

   Hash (SHA256)
   1c9a86f598fdac3a78c2f32cb43b94ee2fc19a8b1e23217d0879b5f6b8ec1d1c

   Signature (PKCS#1v1.5)
JiojQWXZbfeP7v05Fsy6uOLadYsUlO0QxgxSCx26vrFe6tvwIi2fEl0oEcVElaco/CKYj2zz93zOGSXKxcm8Ng16758tjJyGlcVXFvuYh/0jvdHpaot844FZZBViQutCw8D2f8G2bgY/KZZrOI+7/zM+U/M139YrdZhOcqRado0=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 02:29:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   G/d6ykDg8BoR4woEXwb1hsPZtVfNH3w2lBZGvlUieOqzcc9/UuM63fCkPFdZnc839nO2p2ytkzDQzwy103D3FkNLah72/4ttKOA7sheR26F3S2GMrflQyKkgpalOGI5olQ/OeVRQjKBixnFwbpI3GEaULl98SaTWXC1G6Zc51I4OLH8AfPM003L6HsxpD0KC671LQ
   +D4IR4zFp37coiawa5zuvOLHMSyr3ie52YmnSBhDpGdc/sgYFBd3jA57V3H3UaaO19OYwsD3R7peQNVnWLxKPGML6cyKOGE/GSDQon8rpdUYvEECfvmMWBf4Acw7e7Q++hf4QbRuZ6PusjXGw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-02-29-05-GMT.mhtml

   Hash (SHA256)
   8ba02f723597cede5811f3f9f94a961f89a50288891d00caeb56be55a06bcd03

   Signature (PKCS#1v1.5)
DFxjHj+Qby6YytEcVSRFAYq+fQlyEu4Y8IBWlEqZ7klVsqbvjd4koM6MfyZA/q/1cNx2u8x6rffIQQjhf1Xve7Y4b2Ubds/blPkJSYF9f5V8IUejVYUPZ6TO85KfQU5+fTnQRS
+03PqODTMTDZWc3BimMS7GwrPiEorceMUrp1T9OGwZgVKshiAI2+XXpGgMmMcpp0GpSElVNYyItLAir0ShQ8hsRYs4IZN9BVFlsNVxnF3ejUZpymJjwLmpLnS12mFGM2URLuUOzf8besX5IPQWy1kPPF00Tk0coI48hKk22cPbCKF2ClR42NC6C2/pgtWdaKrle2tIBnAMKale0w==
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 50 Pcs Smiley Face Stickers for Kids Waterproof Stickers for Water Bottle Laptop Skateboard Computer Helmet Bike Luggage Motivational Decals for Girls Boys Teens Adults : Electronics

   URL
   https://www.amazon.com/Stickers-Waterproof-Skateboard-Computer-Motivational/dp/B0BMVXYTTQ/ref=sr_1_42

   Collection Date
   Thu, 20 Apr 2023 07:34:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WUU+wkxTQpHcRuCQFSblUb0i3Y4rm+cJpLfreMW/ejIBamzC5++BHq3CgophqteQwqL2SXflthXSXKMJyIyX7wIxGoTUJsXc/esoqu1WrammBV/Apo61hJiB2+wvWPTMs2Fwn0P08foAO0fq11IYZigluffgB5b9kROlAyBUKCg=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Waterproof-Skateboard-Computer-Motivational[fs]dp[fs]B0BMVXYTTQ[fs]ref=sr_1_42]]_Thu,-20-Apr-2023-07-34-58-GMT.pdf

   Hash (SHA256)
   a08d81c9d77619a12d799b2461b64e0212df8b84f530a020b8bb80cbc609ba87

   Signature (PKCS#1v1.5)
Yc3h0k1wK4D5V5hLAKtuguHnHg1DaCQ5cHsmUDnAWzgdjBXd/qXI2+bJcwRmv+7Tdgu9l2/e/rBDFXq4Xvl+tNAlUcX2d+I5jvrmrk1TvbaqESs/EQlhdrgF+fUmGenFUGyof04KyoAznac+YID+VNf6eKADrh6ucuApuO+DTIw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                       Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 03:10:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kwMNENcBykSE0/z+HAFOi4Ka1k0WcCDuxLzEyFBzOIefFWJ0rJgmK3jHa3T5GzvZgxgFkHl0YqB6IjrBC2UFlLw0PoXSCeO8BKCRapEO8hSxY4+GGeNJFejGDd/Rj2mf6C6UmkGDU1g3B/JtbD8rh04vXljPs2OEI+4Sjk2WVCwh82bHYJyRCZwQerdloDkX/
   YuXVXiep4VXejX9IkeNgbT8pwBBZP4af2o0kd43O2ADP259wdILl8JCNUEB7P4H7yFFa7CZ/sQLwpcuuSL460gvjSE01CvUma+LppEFaM9WVzHe8QILJny6LjHpKPTUNb4dQlANZAUE0HEFj602Ug==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-03-10-26-GMT.mhtml

   Hash (SHA256)
   34a9f0db1820a2d92d631fc216d6b8e63cb74b4874d17d4f7e91eed36e266ffe

   Signature (PKCS#1v1.5)
c2/luhivQxh2TFk9ar7ZL1BWrQ3CA6Xe6H7/0cLHRv3DwL8saR3u4p7t2ww55PNvAY1mHInxZXkHwd7+LVL9RxbBFpHVg+iHIQjLyX3bmndSymkBXU6jh853fA2AlgUUiRqGp38c6ng90wrXIpBj4O68jxjWlVLM9I4aex5RI6+xM/
hkLFhPQkAXZgyUgA1GlFcwwRzfFPS0wiHM98j4zfsGEdStNHCW7lvvk3GqCYbA++FyIZhZZrKV3BtwX7qvio0eplTVsmDqEVIFszvDVLYZTbJH12dUbhE/4sDlIRp/EvKjyVl1G3WCzPtBMlEtM80g/abczHkQqBevwsT3FA==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Cosmetic Bags for Women Makeup Bag Large Capacity Purse Travel Toiletry Zipper Storage Pouch Make up Brushes Organizer for Girls Gifts (Corduroy Smiley, Pink) : Beauty & Personal Care

   URL
   https://www.amazon.com/Cosmetic-Capacity-Toiletry-Organizer-Corduroy/dp/B0BW98LWPK/ref=sr_1_158

   Collection Date
   Fri, 21 Apr 2023 07:39:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lpoD9ymFlSjsMTMZILS6yHBuQABKXnyagKo8IoDZwDkdF86GJonflTB+EjpbeFv6ZowTgofPSzjOGxLH8Nk5D+DmPRhgN8vjcxwD09ku2HWBFj+jIZcHXGcuvqWjrjwf1nLRcvq1uiX1HpVIyFZiwklleXB7+wo45dijC3n64eY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cosmetic-Capacity-Toiletry-Organizer-Corduroy[fs]dp[fs]B0BW98LWPK[fs]ref=sr_1_158]]_Fri,-21-Apr-2023-07-39-19-GMT.pdf

   Hash (SHA256)
   5663a759c43d8d33e775254e71858379ce3835edead720d5a245e7c52c114fb3

   Signature (PKCS#1v1.5)
YBRDv3j8saJZ4xzY/u8W2axmKOr/2c1sRFPDH5eOOyGYTXGtPS2dK619FKSEuK0O8Wv68RqlTazLxWbG+q2Yhsu7+JMJzD3d+ZIbLWWLgmi3ieuhb4GWmJ19tQC3OqpDTaAjbQ3nqQ0mRn6NfhUI37clUpyxZ5B9IUq1rqokRD0=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 28 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 08:12:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gn2i4lnUICk2IPF1qjS42TCCa07t3ONAPJ7T+WS1AihUicXpfThlADVqodwaVQ0msfplMUtpe0VkDssgXSDF97IpXUnv/4zl/LAAHEP7/LCIsr7xV5YZA8cd33fpqNviBdnwECwk0yztLfJHuKyFWjOcYzDV
   +e/3TLLBJqYZpMdNUJStYkt4kpdxiCrVPGoemSlHOTbqGek4ngTiy51wjF7yhcE6O1w4n1Kxv0mReLWe15fMbdbmf1ubuuIJQHHvNENSaBzhQMokkKXEV7BZHxXCXnhHJWyzUSHtrGoqc7BW0l1GMcP5KVtmyAsmZ3X0ZU8w5MwaQQzeUvzwJJaCdw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-08-12-30-GMT.mhtml

   Hash (SHA256)
   64a9388579330f5b6cefe7746d2b23adb9a9970ffbf5c8798685f4a4ee46743b

   Signature (PKCS#1v1.5)
Vq26RFTq78r/QHtePo+JaNF62oFh9dfingnGpLLE8Rf8JGSmrVQZ/wr8+bhpeREaLeOLdElJoTdSK+kXgAzmXON5Qcf3x5QtAXsEQYQfwmWnGFYouZvhe50snp5BI5gkheyt40f3kQaq/fwgbEg82Cb9Qq5cfqs3A+Lw0JkLa1mIdtmjOc/7oo9jjZxIKupgxfjv2tUVOl7msKJafxbK+b+D2cvwc3C/
jzFsnZHO8Y7uVLd7hdyzrC2IjrQJZyS0bVJ+epWflH+2T38vqUwey6LRsbJU44nBJ2RzCvgZoSlmWwmHJ+OTFYvVBJDYH/OLC75tEYwaRkXEiom9d0I62w==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Large Makeup Bags for Women,Smiley Face White Canvas Cosmetic Bag as a Unique Birthday Gifts for Mothers,Girls and Friends,Organizer Portable Storage Bag for Travel. : Beauty & Personal Care

   URL
   https://www.amazon.com/Cosmetic-Birthday-Mothers-Organizer-Portable/dp/B0BZDNX6NP/ref=sr_1_317

   Collection Date
   Wed, 19 Apr 2023 11:27:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QOeLNsniLZl505vGG0VtVsMd7HQ7Ql6XbVLcIwMFlCHGOpftC4pxljgbFL483UmMnntKk8/n/gvUUf/g16DONUPkQRu28fJCIeADxtHCIy0T8wE+kY9AvgLFhXHgfgU0zEe/MFI7Ue6nDrlx3lBYkpW3kyBfgTGeNlGxGRMCVn0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cosmetic-Birthday-Mothers-Organizer-Portable[fs]dp[fs]B0BZDNX6NP[fs]ref=sr_1_317]]_Wed,-19-Apr-2023-11-27-57-GMT.pdf

   Hash (SHA256)
   459edf08ffa4623c946ad759739759c81c214133ab9a8b88a4b2db79a46ee23f

   Signature (PKCS#1v1.5)
ktyryt17HpT5vc17/cUhTJVKw0Jikad/Gl/HnQJeO+f9sx+16+M6OV40Q5SKh3oICvKvyQ+7p7jFkzK5J5osLZUSANPeTgjmCzl0QeBDkcu62tUfvbuXcerwm59rqGJ5nyTVVvVcEgdb/O9E6yqV6CBpKXJ5LtITNNpy41Zg4w4=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 18:55:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.105.210

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FJwlU3HYN29wrR4a772qoyGZGWsA2OD3GFyHrk7RFW+ZREp5ATlIdiGeyYWi2q+eILWXUVgLxE3bEdp6tOX1r26l4W2BlmuhXpVIX/xGJZgXxZb9Sulxbg4ejaaa1zWRO0EqrvCKI2WriHxDdFgJlwK8ziJmm4k6rLVs6qySNxW
   +Xs1eYDXVkfXjvRD01tWkZvKJPtx2SD5DZ4O5WdI4CxyqYOsb2cysuOyDp92gtonWV2uZl7PO724ZEyX5d/ZugVTSxv8n25/ym9/55O1uki7+Fp0cnrgFAjzx/vR+rl5KjRfRGH7GsOcWz8zQmLMR/GMBPhbfL/kscA1rmEiV6A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-18-55-10-GMT.mhtml

   Hash (SHA256)
   a93496c7d86ba0521762d8eb6f70ebed58051b318236136f65a2c4825a28f4e3

   Signature (PKCS#1v1.5)
FqDDplqy6lXO/APcfXNBPePWjnYGI0bgJrB+2K34ezdkEd0q9b0pUGAQGBRRxPfoutdz9il4O9waHn35sAT8G51M89fKLe3Df+tTVY9U3aqmydYv6ml5VTHJj7ZJ0sAWEpj1UlWvjQFYkICLoRYqcv0InYqIxUJa/H6KPYUlbnweyHtgvhd3bDEC4H2trusEdCNKUHDYvBYsrv9x/
Fw9AEyxPHBPpH5g99d0P4UnIBJqCbaCgQu6E+l+k9kVHZXxKOcBXH3o37h7xiNlFI2KPxdSg072xQKmeVjMeLLO4a+lOwGpO/GGFRvwn28vodmaBgKGY8JLU0iJVnoAWW/HTw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 31 of 36



                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: MPNVYU Bed Sheets Twin Size - Smiley Face Pattern Design, Soft Microfiber Deep Pocket Fitted Sheet & Flat Sheet & Pillow Case, Print Bedding Bed Sheet 3 Piece Set : Home & Kitchen

   URL
   https://www.amazon.com/MPNVYU-Bed-Sheets-Twin-Size/dp/B0BGN6N9X8/ref=sr_1_162

   Collection Date
   Tue, 09 May 2023 09:35:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R7LriYlL/2b43XhXub+UlGCbrojO/9v098DKLzfobz6WM1Ds7bDFZMvLnNYTl9GSt2BYDzF5mFniA7vRKWO62aZD+B9N2aulFuJ3KbYYPjVmEwtbZioPajKK3xUaCxbVO+VnrvTunBSZKyCqfVFqZGUInLmYhjc3+hTvuX25A1U=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MPNVYU-Bed-Sheets-Twin-Size[fs]dp[fs]B0BGN6N9X8[fs]ref=sr_1_162]]_Tue,-09-May-2023-09-35-58-GMT.pdf

   Hash (SHA256)
   bbfcd465169e387be4b8545f1e3422da22bebddc949c2d43799f1ac45c6cff42

   Signature (PKCS#1v1.5)
mIf6VNC/WtrVF/UTdI4vwD8WcDfBJbJPLftcrjEWXNf6aHg1KqvTHoZNPj+hbMTlJQWa0KWe4U6/C99QzgJQlMFbrQe/1yFvjsrDSoZtBPo6aJqyO8toYCeJUGsTVvNrC+HnXzOHccSy1PVmcpoKuyHaBqcpvdTVDz9m6CR0Iic=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 32 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 17:57:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AqQUDyBnIxQ+Taqn/NQkVVCpOwAX8nILkm798oLy3YYrVkPJQT5c3X9hR7IhjdnIPjp1oH7e5i+k/CvvN2rf/HX4epR/EHYlQuNCf6ecWQGZU6LojpEKwKkuiEDSTqzGTrRLCxph3aXgrTMXU7MjVPuKhYeYGiYWW+wjOX1srFuaHIwjMeIxh6Q7qKUSTB/
   zAkBzZCmmm84BcEn7KknDyrx3IH0ZFNiAGsE7X5RD+H1DsIweIlY/+AZXNCFgXzQA703oW7/4K8S6PYQAgPqeGNr/FqLIQNcrcxbmxvuM86B0c3+r+lS4II3dJGaxcu6wkx2ZAl9IZ1aid34aphGmww==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-17-57-13-GMT.mhtml

   Hash (SHA256)
   eb777d1be47e033f30908cf554a7978503f562635b6244b271768925fb28a05f

   Signature (PKCS#1v1.5)
MVyNRdxFlrzM199LpWykmDFDuB29LJE9JM9/orSWpZYlAnijG1hWlSLhhJ6XM9gm5Ph4BRNs7gpt1bX6grC+u/44Vod8Jud3FFKZxC2b19qcXBBNgzgKFw5e7LzrrU1+64LNFnG6RaLjMaiemaqkvSuiEzOeH+0DSik7epSMipO/JiUBn6kf26TVt7jbrSHurevW04T7+uA1+aJ8f1V
+4lrYeeSleMgqWVBj/nAi+D/Oox8rSFSvdydNDZPRFAkFENWrdTdQxsB8HBhiChGnpyQlibS3fZTsNF7/jqa65GYy1uVwXi6FWb7aHoYsfS8lsFAjUnpWy0hdPEGP/Q2OWg==
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 33 of 36



                                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : 6120 pcs Happy Face Stickers for Kids Teachers Reward Smiley Face Stickers Small Classroom Stickers Bulk Stickers for Teachers Elementary School Teacher Created Resources : Office Products

   URL
   https://www.amazon.com/Happy-Face-Stickers-Classroom-Elementary/dp/B0BN648YQN/ref=sr_1_163

   Collection Date
   Tue, 25 Apr 2023 08:22:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nPePRnNeqUEFs9dN4yPUBwkKw/vVpft2P/0NDPR4ZGm9vCqefmEPzaFQc7rHrJvWsHKaEDWabF1kIKl2qSQXf5yPK6WYa+QF2sHHOF5IC+bYGYGe9JS0ndJxDkQgu5b/yRiJV9UDUCul8h2WfXP2M3091Zf6v2X7k1EzOeQv7CI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Happy-Face-Stickers-Classroom-Elementary[fs]dp[fs]B0BN648YQN[fs]ref=sr_1_163]]_Tue,-25-Apr-2023-08-22-15-GMT.pdf

   Hash (SHA256)
   cf1ea280a3aef32c118d874dd7a727b30dc762fbef3b8c814f683f16c5003b0f

   Signature (PKCS#1v1.5)
L2prtgupWosEnz2BJ6/5qPQf14WJsn3U7wqCqUkyCR5lcHMIN2sgCziazPP+lwyIK8LkfAHzIpksCfiDXYTvfnvQR1+8X+y6wyiRv5/s04m5qtZ7sEQgrRofenkaw/vXIAye6f33v+skwLgVuwnlrb30cw62bmnw69pvafhoqvI=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 34 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 17:00:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EQ7djb2Aiaoa4ao4jqIHWlJYTciyaBL/tP1uAmqk1jeQFvlJ8kG4iTCip9uLxxVS8aqpftwYAC9EmYp4c8Bjm4dkxUIja2wPuFWD4cFgsmnET4ccg1mK26i7KgN0plkRNXCLTDP+9GpAz00AIOxlWVhTU06odNIn0Gl4MOEIbPjycQcQmHh3mYkEkqoJLX0Tv+qg
   +uy9H0QdZXZGcy9iPtIUrJ3OfscHuZfKDGbW7JI0thIcEWoFfKCFc+bUOKXo+DX0L9LTZmxOqG1SlKDYePt+7i8gbjuzj+fOWDAyp0/28ypBU2nd30hT9qMoSB4RqPk/dYvUneC1t6jxV8Blrw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-17-00-35-GMT.mhtml

   Hash (SHA256)
   8e28d0be31e32e5816298032ae2f1d7fa3eaf724d025bd35e58864cbab79487f

   Signature (PKCS#1v1.5)
IjS0B29sa60JlR5kOGF8x4M/VMChDkvqJQ48FJIJnz7bm7FAFSh3/bO1NH/5v1ldRvmdy1W3wKWAGEJe3Dp67g2yCPXz109QmQmaMc4UlkQuqvGzbSBAo4VJqY+Mt/JCNyZnCBv6PPu49oSjt7jIagZd6tm4U+b1mr+TsdFzc/
nav0Cyne2SNKiWzAW4ekP1aoihp7Z6jrdYeeQ18KUMrrAbS3gqKVxN21FBstyEYxNUzHM0H7fMvQddKCw/uFi1J/DMAnX01d/toFcYzBdTqrTRI6rVzvt1s8yHIjRyO/Ywp21pEzDsKiiVF5pad1ubbJYyjZ5PqIgTfbs+N9HZSQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 35 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   MTKAEWU 6 Pairs Cute Smiley Face Socks, Lovely Smile Face Cotton Socks for Womens, Novelty Funny Embroidery Ankle Socks for Girls Boy at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/MTKAEWU-Smiley-Lovely-Novelty-Embroidery/dp/B0BPYZKKJK/ref=sr_1_41

   Collection Date
   Fri, 21 Apr 2023 08:17:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a1EFL9qQcsLi40jH68JrOfKBiX/u/e/bfmv3ZU9Ulsslvs1wLoIzit49vDi8Irnr5hvm61hC0i8+4Er66d8pEvGSYyz7h5CD2BYJbYK0X/MUjQmr3CTdDUzyglyMAWh2bW4EtVGAcky1cTRrauIp8VcyntR9z37RK+2echhAuEg=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MTKAEWU-Smiley-Lovely-Novelty-Embroidery[fs]dp[fs]B0BPYZKKJK[fs]ref=sr_1_41]]_Fri,-21-Apr-2023-08-17-00-GMT.pdf

   Hash (SHA256)
   0b74bdc8ba85da7b37f14837cf69062a3c896f9241f253ac4f62f24e0f20625d

   Signature (PKCS#1v1.5)
DvSvFzEA3XWQpP4IPcAhlM5fO3ynn3EZoVVZZP32syqxMpUhKR4lNEawFO38jZg5ZW0SFoEISBWZGzIFjHwvGbtsofKJHLWUMVMSDSeEcRQ7MckHyZx5g81s9gpRQITYprhcaXCWmblDB0osyTf1WWxNwfY46ma46dtzxeas+UU=
                                                                                Case 0:23-cv-61203-AHS Document 36-7 Entered on FLSD Docket 07/27/2023 Page 36 of 36



                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 14:04:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RNn90cczoywWAKeNcT8S39I+lyPNJ5hA9KekQNH3yNpF9SC9J2SS+nn+eu0gVA+B2x/5OWMD/y6kiQWIR7291lKp2+Nwhr607yD2rPeD7eRTXPABftXLluv6dhc1EAXJYQAR82num2uKifattjHa/ammabG0O/tRAet1NCuzr26szpZa6t3wlpu1MabY
   +ZhTMzuWk5rY/6cnV18kKyeeDp1GZ92Njtiaxi0PKPNuNXtpqz1S85ugTQE4c/lgJLDO2wtlzS422k2x8HkH45qFFeRYbcM/YN+C+fHXtTREJbti9or23qGtvvkMSeesJsYbezfHy8WLXuxY5lIyjktIog==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-14-04-27-GMT.mhtml

   Hash (SHA256)
   b7bcdd2817bbd48844d33ec52ba04095a9c668ba01cec05ca46f7ecd493d9a10

   Signature (PKCS#1v1.5)
ZAVT0wvYc/g6iE8/EiD90qFn/3C7gEHwRn8zDxzPKxpzE9+nRiaxQjJbmUtWx2ypzUGFP3L5nluu9+5pIx/3s3ZzjQfJJBYDk/1pWz+h39qGYMgZYmKEbUCitdo84+syl9HIT9jSbrRIu69nHTVRSuCzaLcHcZWEWT3XKsBFHjjqvfwGza0O4rOLnr04H6f
+zYvMAgR6IqlPsNjdrh305kbBm5aArUvabyDIwRhrREwFpQQy59dvoDD/eGf52mtI9nVXcH6Hy0i+a8nAhlg28YBTExW+mUjbVk9D2DQzJtHeHtU9+w70eV95mvyXclzRYOTraP9VNCZV6cCAniXX5w==
